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                         Exhibit KK
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From:                               Lolonyon Akouete <info@smartinvestorsllc.com>
Sent:                               Tuesday, December 26, 2023 6:55 AM
To:                                 Aedinberg@westboroughma.gov; Ijohnson@westboroughma.gov;
                                    Smarshall@westboroughma.gov; Skeogh@westboroughma.gov;
                                    Pwelch@westboroughma.gov
Cc:                                 kwilliams@westboroughma.gov; kfoster@westboroughma.gov; Roger L. Smerage; Iris
                                    Leahy; Jonathan Goldsmith
Subject:                            Re: Urgent Call for January Meeting on Settlement Proposal Amidst Multiple Legal
                                    Disputes Involving 231 Turnpike Rd, Westborough


Dear Members of the Select Board,

I am writing to follow up on my previous communication regarding the critical need for a January meeting to discuss the
settlement proposal by the bankruptcy trustee, concerning the ongoing legal matters involving Westborough SPE LLC
and the property at 231 Turnpike Rd, Westborough, MA 01581.

As we navigate these multifaceted legal proceedings, it is crucial to reflect on the Board's established pattern of
governance:

      1. Efficient Decision-Making: The Board's history of holding regular, bi-weekly meetings exemplifies a commitment
         to timely and efficient handling of town affairs. The proposed 45- day delay in addressing this matter seems to be
         a significant departure from this commendable practice, especially given the urgency and complexity of the
         current situation.
      2. Capability for Timely Deliberation: Your ability to swiftly address urgent matters, even within the constraints of
         the Open Meeting Law, has been evident in past dealings. This capability strongly suggests that a shorter
         timeframe would be sufficient for considering the Trustee's proposal. A prolonged delay to February appears
         unnecessary and inconsistent with the Board's demonstrated efficiency and standard operating procedures.
      3. Seasonal Variations: While acknowledging the impact of the winter holidays, it is important to note that the
         Board has successfully managed such seasonal variations in the past. Therefore, scheduling a meeting in
         January, rather than extending the delay to February, aligns better with the Board’s historical practice of
         maintaining consistent governance activities throughout the year.

Given these considerations, and the interconnected nature of the legal disputes involving Westborough SPE LLC, an
expedited January meeting would be instrumental in moving towards a resolution. Such a meeting would not only be in
keeping with the Board’s established rhythm of responsive governance but also mitigate the risk of further legal
complications and financial implications for all parties involved.

I respectfully urge the Board to reconsider the proposed scheduling and recognize the criticality of a prompt and
collaborative approach. Your timely action in this matter is highly valued and will be seen as a constructive step towards
an effective resolution.

Thank you for your immediate attention to this urgent issue. I look forward to your prompt response and am hopeful for
a positive outcome.

Sincerely,

Lolonyon Akouete

Manager of Westborough SPE, LLC
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1241 Deer Park Ave., Suite 1, #1051

North Babylon, NY 11703

info@smartinvestorsllc.com

(443) 447-3276


On Sat, Dec 23, 2023 at 12:10 PM Lolonyon Akouete <info@smartinvestorsllc.com> wrote:
 Dear Members of the Select Board,

 As Manager/Creditor of Westborough SPE LLC, deeply involved in the ongoing legal disputes concerning 231 Turnpike
 Rd, Westborough, MA 01581, I am compelled to address the necessity of a timely meeting regarding the settlement
 proposal put forth by the bankruptcy trustee. Presently, we are engaged in multiple legal proceedings, including:

     1. Town of Westborough v. Westborough SPE LLC, Case No: 19 TL 000768, Suffolk County Superior Court-Land
         Court.
     2. Civil Action #1:23-cv-12017, U.S. District Court for the District of Massachusetts.
     3. Debtor - Westborough SPE LLC, Involuntary Chapter 7, Case No: 23-40709-CJP.
     4. Ferris Development Group, LLC. v. Town of Westborough, Lax Media, LLC, and Lax Media MA, LLC, Worcester
         Superior Court C.A. No. 2285CV01281.

 These interconnected cases reflect a complex legal landscape, necessitating an efficient and proactive approach. The
 settlement proposal from the bankruptcy trustee offers a potential pathway toward resolving these disputes. Given this
 context, it is imperative that the Select Board convenes in January, rather than deferring until February.

 The Board’s established pattern of diligent and responsive governance, as evidenced by your meeting schedule in 2023,
 further underscores the feasibility of this request. Addressing this proposal in a timely manner aligns with the Board’s
 commitment to efficient and effective resolution of pressing town matters.

 I must also express my growing concern regarding the potential for additional legal action. Should there be unnecessary
 delays in resolving these cases, I am considering initiating legal proceedings against the town for malfeasance,
 malicious prosecution, and abuse of process. Such a course would be regrettable but may become necessary to protect
 the interests of Westborough SPE LLC.

 Violation of due process is a fundamental right that should be adjudicated promptly. It shouldn't be subject to multi-
 year litigation. We discourage this litigation strategy.

 An expedited January meeting to discuss the trustee’s settlement proposal could be pivotal in avoiding further legal
 entanglements and financial implications for all parties involved. It offers an opportunity for a collaborative approach
 towards a mutually beneficial resolution.

 I trust the Board will recognize the urgency and critical nature of this matter and will act accordingly. Your prompt
 scheduling of this meeting will be greatly appreciated and viewed as a constructive step towards a resolution.

 Thank you for your immediate attention to this matter. I eagerly await your response and hope for a positive and
 proactive approach in addressing these complex legal issues.

 Sincerely,

 Lolonyon Akouete
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